 Case 6:13-cv-00174-LED Document 26 Filed 10/10/13 Page 1 of 1 PageID #: 214



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

CLEAR WITH COMPUTERS, LLC

                             Plaintiff,                Case No. 6:13-CV-00161-LED
                                                            LEAD CASE
               v.
                                                       Case No. 6:13-CV-00174-LED
KENNAMETAL, INC.,

                             Defendant.




                            ORDER OF DISMISSAL WITH PREJUDICE
       CAME ON THIS DAY for consideration of the Stipulated Motion for Dismissal With

Prejudice of all claims and counterclaims asserted between plaintiff Clear With Computers, LLC

and defendant Kennametal, Inc. in this case, and the Court being of the opinion that said motion

should be GRANTED, it is hereby

       ORDERED, ADJUDGED AND DECREED that all claims asserted in this suit between

Clear With Computers, LLC and defendant Kennametal, Inc., are hereby dismissed with

prejudice, subject to the terms of that certain agreement entitled “SETTLEMENT AND

LICENSE AGREEMENT” and dated September 26, 2013.

       IT IS FURTHER ORDERED that all attorneys’ fees and costs are to be borne by the

party that incurred them.

       So ORDERED and SIGNED this 10th day of October, 2013.
